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UNITED STA'I`ES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE; §
§
I)RILLING sTRUCTURES § CASE No. 13-33395
INTERNATIONAL, INC. §
§
DEBToR § CHAPTER 11

DISCL{)SURE OF COMPENSATION PURSUANT TO
11 U.S.C. § 329 AND BANKRUPTCY RULE 2016 (B{

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

Pursuant to ii U.S.C. § 329 and Banki'uptcy Ruie 2016 (b), the law firm of Fuqua &
Associates, PC, Counsei for the above»captioned Debtor mal<es, this its statement, Setting forth the
compensation paid or agreed to be paid to it for services rendered or to be rendered by Fuqua &
Associates, PC in contemplation of and in connection With the above~entitied and numbered
bankruptcy case, and the SeWice of such compensation

I.
At the present time, the Firrn charges the following biiiing rates:

Richard L. Fuqua, Attoi'ney-in-Charge $5()0.00 an hour

Mary Ann Bartee, Associate $25().0() an hour

Michaei L. Fuqua, Associate $225.00 an hour

T.J. O’Dowd, Legai Assistant $95.00 an hour
II.

On June 22, 2018, this Firin received a deposit of Thirty Five Thousand and No/i 00 Dollai's
($35,()00.00) for Services and costs to be incurred by Fuqua & Assoeiates, PC on behalf of the

Debtor herein

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III.

The Debtor has promised to pay the Firm on an hourly fee basis for all legal services rendered
and to be rendered and all legal expenses incurred and to be incurred in connection With this Chapter
ll Bankruptcy Case. The Firm Will be paid pursuant to the appropriate Orders of this Bankruptcy
Court approving compensation awards and expense reimbursements under ll U.S.C. §§ 330 and
331.

IV.

The Firm has not agreed, either directly or indirectly to share any compensation Which it may
receive on account of representation of the interests of the Debtor With any other person

Respectt`ully submitted this /_§ day of Juiy, 2018.

Respectfully submitted,
FUQUA & AssociATEs, PC
By: /s/ Richard L. Fuaua
Richard L. Fuqua
Texas Bar No. 07552300
5005 Riverway, Suite 250
Houston, TeXas 77056
Business (713) 960~0277
Facsirnile (713) 960-1064

COUNSEL FOR DEBTOR

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